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SULLIVAN & CROMWELL LLP
     TELEPHONE: 1-310-712-6600
     FACSIMILE: 1-310-712-8800                                  1888 {5~ ;?/>~<bad
         WWW.SULLCROM.COM

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                                                                July 19,2013




    Via CM/ECF and E-mail

    Hon. Charles A. Legge (Ret.),
        JAMS,
            Two Embarcadero Center, Suite 1500,
                 San Francisco, California 94111.

                   Re:      In re CRT Antitrust Litigation, No. 07-cv-05944, MDL No. 1917
                            Sharp Electronics Corp. v. Hitachi, Ltd., No. 13-cv-0 1173

    Dear Special Master Legge:

             On behalf of Defendant Thomson Consumer Electronics, Inc. ("Thomson
    Consumer"), we respectfully submit this letter in opposition to the July 5, 2013 request
    by Plaintiffs Sharp Electronics Corp. and Sharp Electronics Manufacturing Company of
    America, Inc. (collectively, "Sharp") for an order permitting discovery to proceed
    between Thomson Consumer and Sharp prior to the resolution of Thomson Consumer's
    Motion to Dismiss ("Motion to Dismiss" or "Motion") (Dkt. No. 167i ). For the reasons
    set forth below, the Court should deny Sharp's request and stay discovery until an order
    is entered on the Motion.

             Sharp's position is inconsistent with both Rule 12, Fed. R. Civ. P., as well as
    Supreme Court and Ninth Circuit policy. See Bell At!. Corp. v. Twombly, 550 U.S. 544,
    558 (2007) ("[A] district court must retain the power to insist upon some specificity in
    pleading before allowing a potentially massive factual controversy to proceed." (Quoting
    Associated Gen. Contractors of Cal., Inc. v. Carpenters, 459 U.S. 519, 528 n.17 (1983));
    Little v. City ofSeattle, 863 F.2d 681, 685 (9th Cir. 1989) (finding that a stay of
    discovery pending the resolution of a potentially dispositive motion may "further[] the
    goal of efficiency for the court and litigants"). According to the Ninth Circuit, "[i]t is
    sounder practice to determine whether there is any reasonable likelihood that plaintiffs

         All docket references are to the master docket for In re CRT Antitrust Litigation,
    MDL No. 1917, No. 07-cv-05944.
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can construct a claim before forcing the parties to undergo the expense of discovery."
Rutman Wine Co. v. E. & J Gallo Winery, 829 F.2d 729, 738 (9th Cir. 1987).

        As explained in the Motion to Dismiss (which is now fully briefed2 ), Sharp's
claims are time-barred for the same reason Your Honor concluded that the claims against
the Philips and LG Defendants were time-barred in the recent Report and
Recommendations Regarding Defendants' Motions to Dismiss Direct Action Complaints
(the "R&R"): Sharp pleads Thomson Consumer sold its CRT business to Videocon in
2005 and thereby withdrew from the alleged conspiracy-eight years before Sharp filed
its complaint (Dkt. No. 1604-2) (the "Complaint" or "Compl.") against Thomson
Consumer. (Compare Motion to Dismiss at 5-7 with R&R at 14-15.) Indeed, the facts
related to Thomson Consumer's statute-of-limitations argument are even stronger than
those Your Honor determined entitled Philips and LG to dismissal from this matter. (See
infra, Part II.B.1.)

         Moreover, while Thomson Consumer would be significantly prejudiced if forced
to undertake discovery prior to a ruling on its Motion to Dismiss, Sharp's claimed
urgency in obtaining discovery is a problem of its own making. Sharp elected to wait
until this litigation had been pending for over five years before filing its opt-out claims
and at the same time decided to add Thomson Consumer as a defendant for the first time
in these CRT cases. Thomson Consumer should not be forced to incur the costs and
burdens associated with discovery regarding claims that are time-barred as a result of
Sharp's litigation choices.

      Accordingly, Sharp's request should be denied and discovery as to Thomson
Consumer should be stayed pending resolution of its Motion to Dismiss?

I.       THOMSON CONSUMER'S RECENT INVOLVEMENT IN THE MDL

        On March 15,2013, Sharp filed the Complaint against Thomson Consumer,
alleging in conclusory fashion that Thomson Consumer "participated in and/or was a
party to bilateral and group meetings in which unlawful agreements ... occurred." (See
Compl. ~~ 187-88.) Thomson Consumer had never before been named as a defendant in
any CRT antitrust action. On May 17, 2013, Thomson Consumer filed the Motion to
Dismiss, arguing that (1) Sharp's claims are time-barred under the applicable statute of

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     See Motion to Dismiss (Dkt. Nos. 1677), Sharp's Opposition to Thomson
Consumer's Motion to Dismiss ("Opp.") (Dkt. No. 1744), Thomson Consumer's Reply
Memorandum in Support of Motion to Dismiss (Dkt. No. 1769).
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         Should Your Honor wish to have this matter briefed further, Thomson Consumer
will file a motion for a protective order to stay discovery pursuant to Rule 26(c), Fed. R.
Civ. P.
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limitations, (2) Sharp failed to state a federal or state antitrust claim against Thomson
Consumer and (3) the Court lacks subject-matter jurisdiction. (See Motion at 1.) One
month later, on June 17, 2013, Sharp submitted a letter brief requesting the Court order
discovery to proceed despite the pending Motion to Dismiss (the "Letter Brief') (Dkt.
No. 1766), even while recognizing that "Thomson Consumer ... has not been a
defendant in the MDL previously." (June 17, 2013letter, Dkt. No. 1766-1.)

II.      DISCOVERY SHOULD BE STAYED PENDING RESOLUTION OF
         THOMSON CONSUMER'S MOTION TO DISMISS

        Rule 26( c) of the Federal Rules of Civil Procedure provides, in relevant part, that
the district court "may, for good cause, issue an order to protect a party ... from
annoyance, embarrassment, oppression, or undue burden or expense [by] ... specifying
terms, including time and place, for the disclosure or discovery." Fed. R. Civ. P.
26(c)(l); see also Fed. R. Civ. P. 1 (requiring that all rules "be construed and
administered to secure the just, speedy, and inexpensive determination of every action
and proceeding"). Here, all discovery directed to Thomson Consumer should be
temporarily stayed pending the resolution of its Motion to Dismiss or, at a minimum,
Sharp's request in its July 15, 2013 letter should be denied.

         A.    Federal District Courts Frequently Stay Discovery Pending the
               Resolution of a Potentially Dispositive Motion

        "District courts have broad discretion to stay discovery pending the resolution of a
potentially dispositive motion, including a motion to dismiss." In re Netflix Antitrust
Litig, 506 F. Supp. 2d 308, 321 (N.D. Cal. 2007); see also Jarvis v. Regan, 833 F.2d
149, 155 (9th Cir. 1987) ("A district court's decision to allow or deny discovery is
reviewable only for abuse of discretion."). Although the Federal Rules of Civil
Procedure do not provide for an automatic stay of discovery upon the filing of a motion
to dismiss, federal district courts frequently stay discovery pending the resolution of a
potentially dispositive motion consistent with the Ninth Circuit's view that such a stay
may "further[] the goal of efficiency for the court and litigants." 4 See Little, 863 F.2d at
685; see also, e.g, Universal Trading & Inv. Co. v. Dugsbery, Inc., 499 F. App'x 663,
665 n.9 (9th Cir. 2012) (finding no error in district court's grant of protective order
staying discovery pending resolution of motion to dismiss); Duffv. Nevada, 212 F. App'x

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        This is particularly true when a motion to dismiss challenges a party's inability to
sue or be sued. See, e.g, Cal. Sportfishing Protection Alliance v. Chico Scrap Metal,
Inc., No. 10-cv-01207, 2011 WL 130228, at *6-7 (E.D. Cal. Jan. 14, 2011) (staying
discovery where defendant argued in motion to dismiss the plaintiff lacked standing);
Morris v. McGrath, No. 06-cv-05015, 2008 WL 4858493, at *2 (N.D. Cal. Nov. 10,
2008) (staying discovery where defendants argued in motion to dismiss they had
qualified immunity).
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676, 676 (9th Cir. 2006) (same); Wenger v. Monroe, 282 F.3d 1068, 1077 (9th Cir. 2002)
(same).

        And, courts in this district have stayed discovery in antitrust class actions and
multi-district litigation similar to this case. 5 See, e.g., In re Graphics Processing Units
Antitrust Litig., No. 06-cv-07417, 2007 WL 2127577, at *5 (N.D. Cal. July 24, 2007)
(staying discovery pending the resolution of motions to dismiss--even though "the
discovery sought at this time is the same discovery already gathered, assembled, and
produced to the government"-because "to allow antitrust discovery prior to sustaining a
complaint would defeat one of the rationales of Twombly"); In re Netflix Antitrust Litig.,
506 F. Supp. 2d at 321 (staying comprehensive discovery pending finalization of
pleadings). As the Ninth Circuit has explained,

         The purpose of [Rule] 12(b)( 6) is to enable defendants to challenge the
         legal sufficiency of complaints without subjecting themselves to
         discovery. In antitrust cases this procedure especially makes sense
         because the costs of discovery in such actions are prohibitive. As
         observed in Havaco of America, Ltd. v. Shell Oil Co., 626 F.2d 549, 553
         (7th Cir. 1980), "if the allegations of the complaint fail to establish the
         requisite elements of the cause of action, our requiring costly and time
         consuming discovery and trial work would represent an abdication of our
         judicial responsibility." It is sounder practice to determine whether there
         is any reasonable likelihood that plaintiffs can construct a claim before
         forcing the parties to undergo the expense of discovery.

Rutman Wine Co., 829 F.2d at 738 (internal citations omitted). By comparison, the cases
cited in the Letter Brief-with one exception6--did not involve antitrust claims and


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         District courts in other circuits have similarly stayed discovery in antitrust multi-
district litigation. See, e.g., In re Sulfuric Acid Antitrust Litig., 231 F.R.D. 331, 336 (N.D.
Ill. 2005) ("Limitation or postponement of discovery may be appropriate when a
defendant files a motion to dismiss for failure to state a claim on which relief can be
granted .... [S]uch stays are granted with substantial frequency.").
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        The one exception-Rheumatology Diagnostics Laboratory, Inc. v. Aetna, Inc.,
No. 12-cv-05847, 2013 U.S. Dist. LEXIS 61848 (N.D. Cal. Apr. 30, 2013)-involved
claims for violations of federal and state antitrust laws against five domestic corporations,
but did not present the complexities inherent to this case. Moreover, that Judge Tigar
ultimately dismissed all of the plaintiffs' claims less than two months after denying a stay
of discovery illustrates precisely why a stay of discovery pending the outcome of
Thomson Consumer's Motion to Dismiss is appropriate here. See Rheumatology
Diagnostics Lab., 2013 WL 3242245 (N.D. Cal. June 25, 2013).
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therefore do not take into consideration the unique circumstances and the magnitude of
discovery presented by this complex, international antitrust action.

       B.      Thomson Consumer Satisfies the Two-Pronged Test Adopted by the
               Northern District of California

        Although the Ninth Circuit has not set forth a specific standard for staying
discovery during the pendency of a potentially dispositive motion, federal district courts
in California apply variations of a two-pronged test to determine whether discovery
should proceed prior to a ruling on a dispositive motion: ( 1) the "pending motion must
be potentially dispositive of the entire case, or at least dispositive on the issue at which
discovery is directed"; and (2) "the court must determine whether the pending dispositive
motion can be decided absent discovery." See, e.g., Hall v. Tilton, No. 07-cv-03233,
2010 WL 539679, at *2 (N.D. Cal. Feb. 9, 2010) (citing Lowery v. Fed. Aviation Admin.,
No. 93-cv-01352, 1994 WL 912632, at *3 (E.D. Cal. Apr. 11, 1994)); Mlejnecky v.
Olympus Imaging Am., Inc., No. 10-cv-02630, 2011 WL 489743, at *6 (E.D. Cal. Feb. 7,
2011) (noting that judges in the Eastern and Northern Districts of California "have
applied variations of this test with frequency" and collecting cases). Because Thomson
Consumer satisfies both requirements, the Court should reject Sharp's request for
discovery.

               1.      The Pending Motion to Dismiss Is Potentially Dispositive
                       of the Sharp Complaint

       If granted, Thomson Consumer's Motion to Dismiss would be dispositive of
Sharp's claims. And, it is likely that the motion will be granted: Your Honor has already
considered a similar statute-of-limitations argument presented by the Philips and LG
Defendants who had ceased participation in the CRT industry with the sale of their CRT
businesses in March 2007-more than four years prior to the filing of the complaints
those defendants sought to have dismissed-and recommended that "the motion [to
dismiss] of Phillips [sic] and LG on the grounds of the statutes of limitations be granted,
without leave to amend." (Compare R&R at 14-15 with Motion at 5-7.)

         Sharp pleads in that Thomson Consumer exited the CRT industry in 2005-two
years before the Philips and LG Defendants-and, as explained in the Motion to Dismiss,
Sharp's stale claims are time-barred. (See Motion at 5-6.) Ifthe Court holds, consistent
with the R&R, that Thomson Consumer's withdrawal from the conspiracy renders
Sharp's claims time-barred, then those claims against Thomson Consumer will be
dismissed with prejudice. Accordingly, Thomson Consumer's motion to dismiss satisfies
the first prong ofthe test. See SF. Tech. v. Kraco Enters. LLC, No. 11-cv-00355, 2011
WL 2193397, at *3 (N.D. Cal. June 6, 2011) (finding defendant satisfied first prong
where granting motion to dismiss "would dispose of this case completely"); Hall, 2010
WL 539679, at *2 (finding defendants satisfied first prong where "motion to dismiss, if
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meritorious, will dispose ofthe entire case" and staying discovery until disposition of the
defendants' motion to dismiss).

               2.      The Pending Motion to Dismiss Can Be Decided
                       Absent Discovery

        The Motion to Dismiss assumes the truth of all the allegations in the Complaint
and raises straightforward legal arguments about the sufficiency of those allegations.
Therefore, discovery is not necessary for the Court to decide the Motion to Dismiss, and
the second prong is satisfied. See Jarvis, 833 F.2d at 155 ("Discovery is only appropriate
where there are factual issues raised by a Rule 12(b) motion."); see also Cal. Sportfishing
Protection Alliance, 2011 WL 130228, at *6-7 (finding second prong satisfied where stay
would not "preclude either party from fully preparing for the pending dispositive
motion"); Pac. Lumber Co., 220 F.R.D. at 352 (noting that second prong is not satisfied
where stay order "could preclude either party from fully preparing for the pending
dispositive motion"). Because there can be no argument that discovery is required to
decide the Motion to Dismiss-and Sharp has not contended otherwise-Thomson
Consumer should not be subjected to the "sprawling, costly, and hugely time-consuming
undertaking" of discovery at this stage of this antitrust case. Twombly, 550 U.S. at 560
n.6.

         C.    Discovery Against Thomson Consumer at This Stage Would Be
               Prejudicial and Cause Undue Burden and Expense

        For the same reasons that Sharp's claims against Thomson Consumer are likely
time-barred, discovery as to Thomson Consumer will be particularly onerous. As alleged
in the Complaint, Thomson Consumer closed all of its U.S.-based CRT manufacturing
plants in 2004 and sold its CRT business in 2005. (See Compl. ~ 73.) This means that
nearly all-if not all-relevant personnel have long since left Thomson Consumer, and
documents and data in Thomson Consumer's possession will be difficult and costly to
locate (and possibly restore) for accessibility and review. In addition, in order to
adequately and responsibly respond to any discovery requests, Thomson Consumer
would be required to take many time-consuming and costly steps to become familiar with
the five-year history of this complex antitrust MDL. Forcing Thomson Consumer to
incur such enormous, needless expense, when it may be dismissed from the case in a
matter of months, would be fundamentally unfair and unduly prejudicial. 7


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         At the very least, adjudicating Thomson Consumer's Motion to Dismiss "will
shed light on the best course for discovery." In re Graphics Processing Units Antitrust
Litig., 2007 WL 2127577, at *5 ("After full ventilation ofthe viability vel non ofthe
complaint, we will all be in a much better position to evaluate how much, if any,
discovery to allow.").
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        Furthermore, Sharp overstates the extent of any prejudice that it would suffer as a
result of waiting to take discovery from Thomson Consumer until the Court determines
whether its claims are viable. Sharp purports to have "participated meaningfully" in
discovery with other parties and has already "gained access to" some discovery related to
Thomson Consumer. (Opp. at 5; see also Letter Brief at 2 (stating that its proposed
discovery requests ''track requests that have been served on other defendants in the
MDL).) Although Thomson Consumer does not yet have access to all of these
productions, it understands that hundreds of thousands of pages of documents have been
provided to Sharp. By Sharp's own account, it has not been left without any discovery
related to Thomson Consumer pending a ruling on the Motion to Dismiss. (See Opp.
at 5.)

               For the foregoing reasons, Thomson Consumer respectfully requests that
the Court decline Sharp's request for discovery against Thomson Consumer and stay
discovery on Sharp's claims against Thomson Consumer until the Court has ruled upon
the Motion to Dismiss.




cc:    Craig A. Benson (Paul Weiss)
